                             BEFORE
                            Case      THE
                                 MDL No. 3076UNITED
                                              DocumentSTATES
                                                       152 FiledJUDICIAL    PANEL
                                                                 06/29/23 Page 1 of 2
                                                 ON MULTIDISTRICT LITIGATION

 MDL No. 3076 & Title - IN RE: FTX Cryptocurrency Exchange Collapse Litigation



                                                              NOTICE OF APPEARANCE
                                       (Appearances should only be entered in compliance with Rule 4.1(c).


 PARTIES REPRESENTED (indicate plaintiff or defendant (i.e. Plaintiff Bob Jones)–If representation
 includes more than one party, attach a separate list.)
 Plaintiffs



 SHORT CASE CAPTION(s) (Include District and Civil Action No. (i.e. Jones v. Smith Corp., et al., D.
 Delaware, 1:14-586)–If party representation includes more than one case, attach a schedule of actions)
 NOTE: Include only actions in which you are entering an Appearance.
Lucky D. v. Prager Metis LLP & Armanino LLC D. NJ No. 2:23-cv-389-MCA-JRA




         In compliance with Rule 4.1(c), R.P.J.P.M.L., 199 F.R.D. 425, 431 (2001), the following designated
 attorney is authorized to receive service of all pleadings, notices, orders, and other papers relating to practice before
 the United States Judicial Panel on Multidistrict Litigation on behalf of the plaintiff(s)/ defendant(s) indicated. I am
 aware that only one attorney can be designated for each party.


           6/29/2023                                                      s/ Anthony Scordo

                                        Date                                             Signature of Attorney or Designee


 Name and Address of Designated Attorney: Anthony Scordo, 69 E. Allendale Rd., Saddle River NJ 07458

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 Instructions:


 1. From the JPML home page, download Notice of Appearance. Fill out form and save in .pdf format. (All documents filed with the Judicial Panel must be in PDF Format.)
 The Appearance Form is to be filed as the main PDF document. Any documents submitted with the Appearance Form are attachments.
 2. Select MDL from the menu bar at the top of the ECF screen.
 3. Click on Notices. Select the appropriate Notice of Appearance. Select Next.
 4. Enter the three or four digit MDL number (ex. 875). Select Next.
 5. Verify MDL number, if correct Select Next.
 6. Choose the case(s) for which the Appearance is being filed. Select Next.
 7. Select Party. Select next twice.
 8. Upload the Appearance Form as the Main document and all other documents as attachments. Be sure to choose a category and description. Select the document to which
 the Appearance relates. (N ote: Appearances filed in new litigations will be linked to the initial Motion for Transfer and Appearances filed in transferred litigations should be
 linked to the Conditional Transfer Order (CTO).
 9. Select the next button and verify docket text. If correct continue to select next to complete the transaction.
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